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       BURK, HARRY TASHDIJIAN, KARYN PINSKY, CHARLES MALOW, and
   7   CHARLES VAN SCOY
   8
   9
  10                    UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12   CARL MITCHELL, MICHEAL               Case No. CV16-01750 SJO (JPRx)
       ESCOBEDO, SALVADOR ROQUE,            [Assigned to the Honorable S. James
  13   JUDY COLEMAN, as individuals;        Otero, Courtroom 10C]
       LOS ANGELES CATHOLIC
  14   WORKER, CANGRESS, as                 DECLARATION OF JOSEPH
       organizations,                       BURK, HARRY TASHDIJIAN
  15                                        KARYN PINSKY, CHARLES
                    PLAINTIFFS,             MALOW, CHARLES VAN SCOY,
  16                                        HAROLD BASTIAN, ROBERT
       v.                                   SMILAND, DONALD SHAW,
  17                                        KYLE HARPT, LARRY RAUCH,
       CITY OF LOS ANGELES, a               MARK SHINBANE, AND
  18   municipal entity; LT. ANDREW         GALVESTER GAULDING IN
       MATHIS, SGT. HAMER and SGT.          SUPPORT OF NOTICE OF
  19   RICHTER, in their individual and     MOTION AND MOTION TO
       official capacities,                 INTERVENE FOR LIMITED
  20                                        PURPOSE OF OBJECTING TO
                    DEFENDANTS.             SETTLEMENT; and
  21                                        INTERVENORS’ NOTICE OF
                                            MOTION AND MOTION FOR
  22                                        RELIEF FROM ORDER OR
                                            MODIFICATION THEREOF
  23                                        UNDER FRCP 41, 46, 59, AND 60
  24
  25
  26
  27
  28


                 DECLARATIONS IN SUPPORT OF MOTION TO INTERVENE
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   1                        DECLARATION OF JOSEPH BURK
   2   I, Joseph Burk, state and declare as follows:
   3         1.     Except as otherwise stated, I have personal and firsthand knowledge
   4 of the facts set forth herein and, if called as a witness, I could and would testify
   5 competently thereto under oath.
   6         2.     I own the building located 606 E. 6th Street, Los Angeles, CA
   7 90021, within the “Designated Area” identified as being subject to the provisions
   8 of this lawsuit. I also live there with my wife.
   9         3.     The increased squalor and buildup of property and trash
  10 immediately outside my business and home has threatened the well-being of
  11 myself, my family, and my business.
  12         4.     I bought the building under a company I created called Location
  13 606, Inc. Since 2001, the property has been used for residential and commercial
  14 purposes. My property is primarily rented for film, television, commercial and
  15 music video production. I also use the property to produce television shows.
  16 Until 2017 I rented part of the property to tenants; however due to the conditions
  17 in the Designated Area I can no longer get a tenant to occupy the property and I
  18 live there myself.
  19         5.     I pay property taxes to the City of Los Angeles and cannot use the
  20 sidewalks around my own property. The environment around my residence has
  21 become unlivable and my business, and the reputation of my business, has been
  22 destroyed.
  23         6.     Production companies have stopped using my property for shoots
  24 due to the poor conditions in the area. These companies have cited the incessant
  25 loud music emanating from tents, heaps of trash littering the streets, and the
  26 obstruction of the sidewalks as reasons they no longer wish to film on my
  27 property. For example, most companies will have heavy equipment they need to
  28 bring into my property on wheels, but are unable to access my property or use the
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                                DECLARATION OF JOSEPH BURK
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   1 sidewalks to roll their equipment. On at least one occasion, the film crew was
   2 never able to bring their equipment inside at all and demanded their money back.
   3         7.     On October 11, 2016, I received the following e-mail from an agent
   4 with a huge international shoe brand “After driving past your place on 6th and
   5 Crocker yesterday I can no longer present your property for upcoming
   6 commercial shoots. The homeless condition directly around your property is out
   7 of control and I wouldn’t feel safe bringing any film crew into that area.”
   8         8.     On October 24, 2016, I received an email from another local
   9 production company stating, “Sorry the scout left before going inside to see your
  10 space today. He told me that when he showed up, he could barely walk down the
  11 street [be]cause there were so many homeless tents and people around. He said it
  12 would be a nightmare to try and film there and didn’t want to put the option in
  13 front of the director. Also, wouldn’t be appealing to bring the client there due to
  14 all the homeless people.”
  15         9.     On February 7, 2017, I received an email from an individual who
  16 had hoped to use my property for a Fox TV Pilot. The e-mail stated, “Thank you
  17 for showing [interested client] your place. She really liked it. But she is
  18 concerned about the neighborhood because her show has a big star attached.
  19 Thanks again.”
  20         10.    On June 27, 2017, another potential client refused to work on our
  21 property. The email noted, “When the location manager showed up with the
  22 director, his instant reaction was ‘I won’t shoot here, because I won’t get out of
  23 the car[.]’ Due to the severity of the homelessness in your area, I fear you are
  24 losing out on a lot of shoots. I know it[’]s out of your hands, but thanks for all
  25 your help today.”
  26         11.    In addition to its commercial use, and in compliance with the artist-
  27 in-residence ordinance, I have lived in the property since 2001. My brother
  28 moved in in 2006, and my wife has been living there since early 2018.
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                               DECLARATION OF JOSEPH BURK
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   1         12.    From 2003-2017, I had two full-time tenants, a married couple. In
   2 2003, when they first moved in, there were no tents on the sidewalks and, if there
   3 were tents, the police were allowed to enforce the law and ask that the tents be
   4 moved. By 2017, when the tenants moved out, they could barely walk down the
   5 sidewalks.
   6         13.    The tenants moved in 2017 due to safety, physical and mental health
   7 reasons directly associated with the declining neighborhood. The amount of
   8 noise and trash coming from the encampments had become too much for them.
   9 The wife was harassed a few times and the husband had his bike stolen numerous
  10 times. People would urinate and defecate on the property’s fence, which would
  11 run down towards their front door. The tenants frequently came across used
  12 needles, left behind from people in the encampments and were calling public
  13 safety for individuals overdosing on drugs.
  14         14.    Since those tenants moved out, I have struggled to find a full-time
  15 tenant for the property. People are not interested in renting my property as a
  16 home or living space because of the surrounding area.
  17         15.    Every day I find used needles on the sidewalks and on my property.
  18 On days when the sidewalks around my property are cleared by law enforcement,
  19 people use the sidewalk to handout food and clothing leaving mounds of trash
  20 behind.
  21         16.    My fence has been used as a restroom countless times since there
  22 are minimal facilities for the number of people living in front of my property.
  23         17.    The unmanaged urine and feces surrounding my property as well as
  24 the rat and bug infestations creates significant health risk.
  25         18.    My fence has been damaged from people pushing large bulky items
  26 against it and tying tents and tarps to it. Most days, I cannot use the sidewalk
  27 surrounding my property and the entrances to my property have been blocked by
  28 debris.
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                                DECLARATION OF JOSEPH BURK
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   1         19.    Law enforcement has told me that they cannot ask the homeless to
   2 move their belongings from the sidewalks or from my property. Because of this,
   3 when I have asked people to move their belongings from blocking the entrance to
   4 my home I have been threatened, spit on and verbally attacked.
   5         20.    Weekly, I witness public sex, prostitution and/or nudity on 6th
   6 Street and Crocker street.
   7         21.    My property gates on Crocker Street get blocked by debris every
   8 other Thursday when Los Angeles Sanitation cleans 6th Street. Also, my
   9 property gates on 6th Street get blocked by debris every other Wednesday when
  10 Los Angeles Sanitation cleans Crocker Street. This is in addition to times when
  11 my gates are otherwise blocked by tents or property.
  12         22.    Since the Mitchell case, the conditions around my home have
  13 worsened beyond my control and because of the increasing hazards I can no
  14 longer invite friends or family over to my property. I cannot reasonably enjoy my
  15 home or property. My quality of life has suffered immeasurably.
  16         23.    When I purchased the property in 2001, the sidewalks were clear.
  17 Today, the street where I live is unsafe, it is unsanitary, and the abundance of
  18 personal belongings restrict access in and out of my property.
  19         24.    Insurance on my property is significantly higher than on properties
  20 in other areas due to the increased danger surrounding me daily. The building
  21 across from me caught on fire from a homeless encampment’s open flame; the
  22 building down the street recently caught on fire for the same reason.
  23         25.    I have difficulty receiving mail or packages. The postman will not
  24 deliver my mail if my mailbox is blocked and will not get out of his truck to
  25 deliver mail or packages to my front door because he has said it is not safe. I
  26 regularly get my neighbor’s mail because the postman simply chooses the
  27 mailbox that is not blocked that day to put the entire block’s mail in. If
  28 everyone’s mailbox is blocked, mail is not delivered.
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                               DECLARATION OF JOSEPH BURK
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   1         26.    Food delivery services, including LA Café, will no longer deliver
   2 food to my property after dark. Rideshare drivers such as Lyft or Uber will refuse
   3 to pick us up or drop us off.
   4         27.    Any attempts to lease or sell my building have been futile because
   5 of the conditions surrounding it.
   6         28.    The recent and widely reported Typhus and Hepatitis outbreaks in
   7 the area have made potential buyers avoid viewing my listed property.
   8         29.    My property has been listed as “For Sale” since the beginning of
   9 2018. Despite having numerous interested buyers, the property has not sold. All
  10 potential buyers have cited the dangerous conditions on the surrounding streets
  11 and sidewalks as the reason they would not purchase the property.
  12         30.    On January 17, 2018, I received an email from a potential buyer
  13 stating, in part, “Just wondering how you’re planning to sell it when the homeless
  14 are 3 tents deep all around that. I know that DTLA is working on the problem
  15 but isn’t the skid row development company super close? . . . [W]hat precautions
  16 and what actions can be taken regarding the sidewalks around the property as
  17 owners[,] if we were to buy it?” The email also includes a text message screen
  18 shot from a potential buyer stating, “Thanks for letting me know about the
  19 sidewalk directly around the building. I just know that it will make it awfully
  20 hard for pedestrians to walk over from the arts district . . . if no one will venture
  21 over because the rest of the surrounding streets look like a scene from Mad Max
  22 then that could be a hiccup.”
  23         31.    On January 30, 2018, I received an email from a potential buyer
  24 stating that his client was “worried about the homeless people around [the]
  25 property, because his kid will [be] living in there too, so he [has] changed his
  26 mind to buy another property . . . .”
  27
  28
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                                DECLARATION OF JOSEPH BURK
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   1         32.    On October 16, 2018, I received an email from one agent stating,
   2 “Our client arrived early & saw police & other non desirable elements[.] [T]hat
   3 pressure prompted him to call & say he is no longer interested.”
   4         33.    In 2018, the City of Los Angeles inquired into the acquisition of my
   5 property. The City would not tell me why they were interested in my property.
   6         34.    In January 2019, I found out from an article in the Los Angeles
   7 Times that the City was looking to turn my property into a Homeless Hygiene
   8 Center. The City has not made an offer on my property but has released my
   9 address to the public. This has confused me and my clients.
  10         35.    On May 2, 2019, I received an email from a potential client saying,
  11 “When I google mapped it (the property) it shows major tent city around the
  12 property, is there any update on what the scene is?”
  13         36.    On May 21, 2019, I received an email from a potential buyer
  14 stating, “Personally I think this property is great and has huge potential! But I
  15 believe my client is just worried that the homeless issues won’t be t[aken] care
  16 [of] soon enough and it could cause some problem[s] for the business he’s going
  17 to do in there.”
  18         37.    On May 26, 2019, an email from another potential buyer revealed,
  19 “After a lot of research and thought we have decided to pass on the property.
  20 Even though we love the building, I believe the price is too high for us at the
  21 moment. We believe skid row will not change fast enough to really be able to
  22 invest there at the moment.”
  23         38.    Just last year I spoke to some young men who told me they came to
  24 Skid Row from the Valley because they knew they could pitch a tent, buy and
  25 use drugs, without any repercussions. To be clear, they are not homeless, they
  26 were simply capitalizing on the drug-haven the Designated Area has become.
  27 This is just one example of the “attractive nuisance” of Skid Row as a result of
  28 these policies.
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                               DECLARATION OF JOSEPH BURK
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   1         39.    The situation in our area has gotten markedly worse in the last three
   2 years, both in terms of the concentration of homeless people and incredible build-
   3 up of property, debris, rotting food, and human waste. After reviewing the
   4 settlement terms of the Mitchell case, which effectively extends the injunction for
   5 several more years, I know this situation will only decline further.
   6         40.    I have suffered both in terms of my economic interests in my
   7 property and also the basic enjoyment of my life. I cannot go outside and walk in
   8 my neighborhood. I have to drive even down the street to restaurants or grocery
   9 stores. Illegal drug use and street prostitution are rampant now. The gangs and
  10 associated violence that have come with unlimited property, and its concomitant
  11 anonymity, are terrifying. I cannot open my windows due to the loud sounds and
  12 terrible odors day and night.
  13         41.    The homeless crisis right outside my building is heartbreaking.
  14 What is even more heartbreaking is that the City is allowing it to get worse by
  15 way of this settlement.
  16         42.    Attached hereto as Exhibits 1-10 are true and correct photographs of
  17 the conditions on the sidewalk outside my property on June 12, 2019.
  18         I declare under penalty of perjury under the laws of the State of California
  19 that the foregoing is true and correct, and that this Declaration was executed this
      24th day of June at Los Angeles, California.
  20 _____
  21
  22
                                              Joseph Burk
  23
  24
  25
  26
  27
  28
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                               DECLARATION OF JOSEPH BURK
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                        Exhibit 1
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                        Exhibit 9
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                      Exhibit 10
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   1                       DECLARATION OF KARYN PINSKY
   2   I, Karyn Pinsky, state and declare as follows:
   3         1.     Except as otherwise stated, I have personal and firsthand knowledge
   4 of the facts set forth herein and, if called as a witness, I could and would testify
   5 competently thereto under oath.
   6         2.     My husband, son, and I live on Spring Street, between 5th and 6th
   7 street in Downtown Los Angeles. I also work on Spring Street in the same area.
   8 Both are within the “Designated Area” identified in the settlement.
   9         3.     In 2010 my husband and I decided to move to Downtown. We were
  10 drawn to the architecture, history, and walkability of the area.
  11         4.     Homeless people have always been present near our home, but in far
  12 fewer numbers. I recall that in 2010, the only tents west of Skid Row were on
  13 Broadway street. These tents would go up every night. But shortly after
  14 daylight, the tents would be gone.
  15         5.     From 2010-2016 my husband and I, and later my son, were able to
  16 enjoy many wonderful features of Downtown Los Angeles. We regularly walked
  17 our dog along Main Street. And, we felt comfortable walking to the many
  18 wonderful establishments and restaurants that were nearby.
  19         6.     During this time, I felt comfortable taking my dog out late at night
  20 or walking home from dinner. I also felt comfortable sleeping with a window
  21 cracked in my bedroom.
  22         7.     In October 2015, my husband and I had a baby. We were excited to
  23 raise our son Downtown because of the many parks it has to offer, the ability to
  24 take him on long stroller rides amidst the tall buildings, and the opportunity to
  25 take him to the market.
  26         8.     Since 2016, issues with crime, drug use, and the homeless have
  27 become much worse Downtown and affected our lives drastically.
  28
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                               DECLARATION OF KARYN PINSKY
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   1         9.       I no longer feel safe walking around Downtown and must carefully
   2 plan my route before I leave. For example, I do not walk on 5th Street between
   3 Main Street and Hill Street because of the number of homeless people and drug
   4 use I encounter there. The streets are often completely blocked and I do not feel
   5 safe asking them to move so I can fit my stroller on the sidewalk. Therefore if I
   6 wanted to walk that way I would be forced to take my child into the street. For
   7 the same reasons, I do not walk on Spring Street past the CVS on 7th Street.
   8         10.      When walking outside, I am fearful that either my son or I will be
   9 the subject of some random act of violence. This fear stems from dangerous
  10 encounters either me or my husband have had with individuals on the streets.
  11         11.      Once, while sitting outside at a café on Spring Street, a homeless
  12 woman screamed and became violent towards me because she thought I was
  13 “judging” her. Luckily, my husband and various bystanders were able to diffuse
  14 the situation.
  15         12.      On another occasion, my husband saw the aftermath of a violent
  16 encounter between our neighbor and a homeless person. The homeless person
  17 had hit our neighbor in the face with a 2x4 that had a nail in it.
  18         13.      Just a few months ago, a homeless man was seated outside a café on
  19 6th Street near Broadway, a block from our house. The homeless person
  20 randomly pushed a stranger into the street in front of an oncoming bus. The man
  21 fell into the street and suffered a skull fracture.
  22         14.      These are just three examples of violent incidents I hear about or
  23 witness on a regular basis. Checking the local crime map on the LA Times
  24 website shows countless violent attacks daily – assault, rape, armed robbery.
  25 Incidents like the ones just described cause me to constantly look behind me. I
  26 am in fear as I walk down the street that someone may attack me or my child.
  27 This was not the case when I first moved downtown in 2010.
  28
                                                -2-
                                DECLARATION OF KARYN PINSKY
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   1         15.    A neighbor of ours on a different floor was attacked in the middle of
   2 the night by someone who gained access through a fire escape window. Now, as
   3 a result, I no longer feel safe sleeping with my window cracked even a little at
   4 night because of its proximity to the fire escape.
   5         16.    Sexual assaults on women have increased significantly since 2015.
   6 As a woman in this area, I am terrified of being assaulted while running errands
   7 or just walking to or from a restaurant.
   8         17.    Each time I walk outside, I witness numerous drug deals occurring,
   9 various people using drugs, and people urinating or defecating on the streets.
  10         18.    The conditions immediately surrounding our home have gotten so
  11 dangerous that neither my husband nor I will leave the house late at night, even
  12 to let our elderly dog out. A woman in our building was attacked twice near our
  13 building while walking her dog at night. Since then, my husband and decided to
  14 put a diaper on our dog to avoid going out late at night.
  15         19.    Sidewalks are now completely blocked with tents and personal
  16 belongings. Because people cannot walk in the sidewalks, they are forced to
  17 walk in the streets. When driving through Skid Row on 5th, 6th and 7th street
  18 I’m often afraid of hitting someone and am constantly swerving to avoid doing
  19 so.
  20         20.    Every Saturday morning my family walks to the Flower Mart. But,
  21 because the streets are completely inaccessible, we are forced to push our 3-year-
  22 old son in his stroller through the street.
  23         21.    Each time I take my son outside I am afraid that he will contract one
  24 of the many diseases that are plaguing the area—Typhus, TB, Typhoid, Hepatitis
  25 A, or the Plague.
  26         22.    To avoid disease and violence, I’ve stopped allowing my son to play
  27 at the park in Pershing Square, and I’ve stopped taking him to Story Time at the
  28 Central Library.
                                                -3-
                               DECLARATION OF KARYN PINSKY
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   1                   DECLARATION OF CHARLES VAN SCOY
   2   I, Charles Van Scoy, state and declare as follows:
   3         1.     Except as otherwise stated, I have personal and firsthand knowledge
   4 of the facts set forth herein and, if called as a witness, I could and would testify
   5 competently thereto under oath.
   6         2.     I have a significant protectible interest in the settlement insofar as I
   7 live in the roughly one-square mile designated as “Skid Row and Surrounding
   8 Area” affected by the settlement. The build-up of tents and personal belongings
   9 on the public sidewalks greatly interferes with any traveling outside of my home,
  10 and the increase in violence on the streets of the Skid Row prevent me from
  11 leaving my home at all after dusk.
  12         3.     I was born on March 27, 1955.
  13         4.     I have been homeless or lived in shelters at various points in time
  14 over the last few decades. Sometime after 2010 I moved to Long Beach Rescue
  15 Mission (“LBRM”), where I lived for two or three years. I now live in the Union
  16 Rescue Mission (URM) located on 545 San Pedro St., Los Angeles, CA 90013.
  17         5.     I have been living at URM for three years and am part of their
  18 Ambassador program.
  19         6.     Due to various illnesses, I am confined to a wheelchair. As a result,
  20 I depend on Access Services, Los Angeles County’s Paratransit program, when
  21 traveling further distances within the city. Sometimes Access is available, but
  22 sometimes it is not. It is a limited program and I am regularly in danger of losing
  23 qualification for its services.
  24         7.     The buildup of tents, personal belongings, people and debris on the
  25 public sidewalks prevent me from traveling on the sidewalks. And, because the
  26 sidewalks are obstructed, I can only travel to the Access pick-up spot
  27 immediately outside of URM.
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                            DECLARATION OF CHARLES VAN SCOY
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   1         8.     The massive build-up of property and tents has made the sidewalks
   2 impossible to navigate in my wheelchair. Every day I must choose between
   3 remaining inside or risk traversing the middle of the street into oncoming traffic.
   4 I can’t even use my wheelchair on the side of the street because of the massive
   5 amounts of trash and property (and sometimes unconscious bodies) in the gutters.
   6         9.     When I ask people to move their belongings on the sidewalk, so
   7 there is a path for me to fit my 32-inch wheelchair, I am met with threats and
   8 aggression. I don’t even ask anymore because I’m worried for my safety.
   9         10.    I have missed important doctors’ appointments and meetings
  10 because it is so difficult for me to traverse the public sidewalk.
  11         11.    Every time I leave URM people are asking to buy drugs or offering
  12 to sell me drugs. As a recovering addict it feels like walking into a firestorm. So
  13 many of the tents and enclosures are used by gang members to sell drugs and
  14 weapons, people on Skid Row who have come looking for services now are
  15 simply prey for drug pushers.
  16         12.    The increase in debris on the streets has led to a rodent infestation
  17 which carries with it the high risk of disease. The lack of sanitation and
  18 accumulation of trash and human waste has made the streets incredibly
  19 dangerous for me. One person I know came into contact with human feces which
  20 caused an infection and ultimately led to the amputation of his leg. With my
  21 medical conditions, I’m particularly vulnerable to the spread of bacteria and
  22 disease.
  23         13.    Between being forced to roll in my wheelchair directly into traffic,
  24 and the risk of disease and violence outside URM, it is simply not safe for me to
  25 leave the building. If I need to leave to go anywhere, I am quite literally risking
  26 my own life. I am a prisoner in my own home.
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   1         I declare under penalty of perjury under the laws of the State of California
   2 that the foregoing is true and correct, and that this Declaration was executed this
   3 24th day of June at Los Angeles, California.
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   5
                                              Charles Van Scoy
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